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                               UNITED STATES DISTRICT COURT
                                DISTRICT OF MASSACHUSETTS


UNITED STATES OF AMERICA                             )
                                                     )
v.                                                   )
                                                     )          Criminal No. 20-cr-10164-NMG
TIMOTHY TORIGIAN, et al.,                            )
                                                     )
                       Defendants.                   )


     NOTICE OF WITHDRAWAL OF APPEARANCE BY GOVERNMENT ATTORNEY

        Undersigned counsel hereby withdraws her appearance. AUSA Mark Grady will continue

representing the government.

                                                     Respectfully submitted,

                                                     JOSHUA S. LEVY
                                                     Acting United States Attorney


                                              By:    /s/ Christine Wichers
                                                     Christine Wichers
                                                     Assistant U.S. Attorney




                                       Certificate of Service

        I certify that this document, filed through the Court’s Electronic Court Filing
(ECF) system on April 9, 2024, will be sent electronically to the registered participants as
identified on the Notice of Electronic Filing (NEF).

                                                     /s/ Christine Wichers
                                                     Christine Wichers
                                                     Assistant U.S. Attorney
